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        The Estate of Cindy Lou Hill, by and through its personal representative, Joseph A.
                Grube; and Cynthia Metsker, individually vs. Naphcare, Inc., et al.

                                           No. 2:20-cv-00410-MKD

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                          Exhibits to Reply Declaration of Edwin S. Budge



                           Screenshot Comparison of Videos
                                         Exhibits A and A.1
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       Exhibit A: Screenshot from Spoliated 2W27 Hallway Video at 9:10:22 a.m.




              Exhibit A.1: Screenshot from “Other Video” at 9:10:22 a.m.
